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                                          No. 12-860C
                                        January 31,2014                  FILED
                                                                       JAN   3l   2014



JAY B. STAMMERJOHAN,                                                 ,H;t;8ot'u8lo?fit
                          Plaintiff,
                                            *        Pro Se Plaintiff; Motion for
                   v.                       *        Reconsideration; Motion for Relief
                                            *        from Final Judgment; RGFG 60(b).
UNITED STATES,

                          Defendant.
*******t**                                  :


             Jay B. Stammerjohan, Culver City, California, pro se.

      Joshua A. Mandlebaum, Trial Attorney, Civil Division, Commercial Litigation
Branch, United States Department of Justice, Washington, D.C., for defendant. With
him were Bryant G. Snee, Acting Director, Commercial Litigation Branch, and Stuart F.
Delery, Assistant Attorney General, Civil Division.

                                            ORDER
HORN. J.

        Following the court's January 9, 2014 Order granting defendant's motion to
dismiss pro se plaintiff Jay B. Stammerjohan's complaint, plaintiff filed a short, undated,
handwritten letter addressed to the undersigned on January 27, 2014. As indicated in
the court's January 9,2014 Order, when reviewing a pro se plaintiffs filings, plaintiff is
afforded liberal construction of his or her filings. See Haines v. Kerner, 404 U.S. 519,
520-21, reh'q denied,405 U.S. 548 (1972). Therefore, given plaintiffls pro se status, the
court has carefully reviewed plaintiff's recent letter and accepts it for filing as a motion
for relief from final judgment pursuant to Rule 60(b) of the Rules of the United States
Court of Federal Claims (RCFC) (2013), although it was not filed in accordance with the
Rules of the court.
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       In his letter, Mr. Stammerjohan states that the court's decision "WAS BacK Too
FasT,"1 and that it made fun of plaintiff. The letter stated: "DiD you ThinK iT's RigHt To
maKe FuN To maKe FuN oF a peRsoN HaNDWRiTEiNg aND The LacK oF A WRisT
whicH is af 460/o Now."2 The court did not intend to offend plaintiff; instead, the court
was trying to accurately describe plaintiffs complaint and reflect plaintiffs arguments as
written. The court hopes that Mr. Stammerjohan will understand no ill intention was
meant towards him personally, and that the court's dismissal of plaintiffs complaint was
based on an analysis of the applicable legal precedent and the procedural rules which
govern the court's actions.

        Plaintiffs letter continues, and addresses his earlier stated claim against the
United States Social Security Administration, which he previously alleged "cut me Lose."
Now, plaintiff alleges, instead, that, "a misTaKe HAS BeeN maDe 1q I WAS GeTTiNg
The moNey From EDDlil NOT SociAL SECURiTy." Additionally, plaintiff re-alleges his
claims against the State of California Department of Transportation, stating that "This
ACT oF Damage From The CalTRaN's WoRK CRew show They aRe Still HiDeing
UNDeR a RocK." Plaintiff repeats his request for compensation from the State of
California Department of Transportation, but alters the amount of his request: "l chaNge
The SuiLT To A 3.5 MillioN FiRsT ThaN 750.@ peR MoNTH Till I am 80 yeaR's oLD,"
as well as for $13,000,695.00, tax free, for his mother.

        Mr. Stammerjohan then maintains in his most recent letter that "SoCiAl SecuRiTy
ToLD me The Damage is NoT To KepT me FRom working," but that he will,
nonetheless, have trouble finding a job due to his injuries and lack of computer skills.
Plaintiff further maintains that "l will Be Faceing To Be HomeLess As My MOM HealTH
FADe's my New So called HealTH caRe PlaN gives me oNly 10% peRceNT oF see a
DeNTisT." He also alleges that he cannot service his motorcycle "Due To I SOLD TWO
MaNLy itam's witTHouT a VoB oR as aT 1 Time I HAD 2 you Tell me How I caN Live."
Plaintiff attaches three invoices related to maintenance and repair of his motorcycle to
his letter in support of his allegations.

1
  Throughout this Order, spelling, capitalization, and grammar are included as it appears
in the original document filed by Mr. Stammerjohan. Regarding plaintiff's claim that the
court's decision was returned too quickly, as noted in the court's January 9, 2014 Order'
Mr. Stammerjohan had failed to respond to defendant's motion to dismiss, although, as
stated in that Order, "plaintiff has been allotted more time than provided to do so under
the court's Rules."
2
  Plaintiff also states in his most recent submission that "l wisH FoR you To LooK aT
The XRAy copy oN The DVD AND LooK aT The Damage," allegedly to plaintiffs wrist'
although no DVD or CD was found in plaintiffs filing when it reached the Clerk's office.
Nonetheless, review of its contents would not likely affect the jurisdictional issues
underpinning the court's decision to dismiss plaintiffs complaint.
3
    while not explained in plaintiffs letter, EDD may reference the state of california
Employment Development Department.
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       Plaintiff concludes his letter by stating that, "Now iT's Time To cleaN up This
mess By ReopeaNing The case aND geT CalTRaN's To cleaN up As They Feel They
wish To HiDe." Below his signature, he adds: "CAITRaN's Has No RigHT To iNjuReR
DRiveR's. Now yeT As I AsK whaT Do you ThiNK is FaR? May we Talk." His request
to reopen the case is the reason the court has accepted his most recent letter filing as a
request for relief from final judgment pursuant to RCFC 60(b).

        Pursuant to RCFC 60(a), "[t]he court may correct a clerical mistake or a mistake
arising from oversight or omission whenever one is found in a judgment, order, or other
part of the record. The court may do so on motion or on its own, with or without
 notice."a RCFC 60(a). In addition, under RCFC 60(b), a court may, "[o]n motion and
just terms," relieve a party from a final judgment for any of the following reasons:

       (1)    mistake, inadvertence, surprise, or excusable neglect;
       (2)    newly discovered evidence that, with reasonable diligence, could
              not have been discovered in time to move for a new trial under
              RCFC se(b);
       (3)    fraud (whether previously called intrinsic            or
                                                                     extrinsic),
              misrepresentation, or misconduct by an opposing party;
       (4)    the judgment is void;
       (5)    the judgment has been satisfied, released, or discharged; it       is
              based on an earlier judgment that has been reversed or vacated; or
              applying it prospectively is no longer equitable; or
       (6)    any other reason that justifies relief.

RCFC 60(b); see also Lone Star Indus., lnc. v. United States, 111 Fed. Cl.257 (2013).
As indicated in RCFC 60(c), "[a] motion under RCFC 60(b) must be made within a
reasonable time-and for reasons (1), (2), and (3) no more than a year after the entry of
the judgment or order or the date of the proceeding." RCFC 60(c).

       As noted by this court in CNA Corp. v. United States, 83 Fed. Cl. 1 (2008)' affd,
332 F. App'x 638 (Fed. Cir. 2009):

       In determining whether a motion is properly classified under RCFC 60(a)
       or RCFC 60(b), the United States Court of Appeals for the Federal Circuit
       has stated:

              Rule 60(a) affords relief from minor clerical mistakes or
              errors arising from simple oversight or omission.   @   James


o
  RCFC 60(a) indicates that "after an appeal has been docketed in the appellate court
and while it is pending, such a mistake may be corrected only with the appellate court's
leave." RCFC 60(a). To date, no appeal has been filed in the above captioned case.
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              W. Moore and Jo Deshap Lucas, Moore's Federal Practice fl
              60.06[1] (2d ed.1993); see also United States v. Bealev, 978
               F.2d 696, 699 (Fed. Cir. 1992). lt is intended to allow the
              judgment to "speak the truth," but not to substantially alter
              the rights of the parties thereto. See [1 1 Charles A. Wright &
              Arthur R. Miller, Federal Practice and Procedure S 2854
              (1973 & Supp. 1993)1. Errors of a more substantial nature
              are more appropriately correctable under subdivision [60Xb).
              See Moore, supra, tf 60.06[4].

       Patton v. Sec'v of the Dep't of Health and Human Servs.,25F.3d 1021,
       1029 (Fed. Cir. 1994).

CNA Corp. v. United States, 83 Fed. Cl. at 7.

       A request for relief from a judgment is not intended to permit a party to retry its
case when it previously was afforded a full and fair opportunity to do so. The United
States Court of Appeals for the Federal Circuit has stated that: "The decision whether to
grant reconsideration lies largely within the discretion of the [trial] court." Yuba Natural
 Res.. lnc. v. United States,904 F.2d 1577, 1583 (Fed. Cir.), reh,o denied (Fed. Cir.
 1990). 'A ruling upon a 60(b)(6) motion is within the sound discretion of the court, and
is reviewed only for abuse of that discretion." McCollum v. Sec'v of Health & Human
Servs., 91 Fed. Cl. 86, 90 (2010) (citing Sioux Tribe of Indians v. United States, 14 Cl.
Ct. 94, 101 (1987), affld, 862 F.2d 275 (Fed. Cir. 1988), cert. denied, 490 U.S. 1075
(1989)), atfd,412 F. App'x 307 (Fed. Cir.201'l); see also Enterov Nuclear Fitzpatrick.
LLC v. United States,71'l F.3d 1382, 1386 (Fed. Cir.2013). "[T]he Federal Circuit has
noted that, as'a remedial provision, Rule 60(b) is to be liberally construed for the
purpose of doing substantial justice."' Vessels v. Sec'v of Dep't of Health & Human
Servs., 65 Fed. Cl. 563, 568 (2005) (quoting Patton v. Sec'v of the Dep't of Health and
Human Servs.. 25 F.3d at 1030); see also Curtis v. United States, 61 Fed. Cl. S11, Sj2
(2004) ("The court has discretion regarding whether to grant relief under Rule 60(b),
'and the court may weigh equitable considerations in the exercise of its discretion."'
(quoting Dvnacs Enq'q Co. v. United States, 48 Fed. C|.240,24142 (2000))).

        In a motion for relief from final judgment, "'[t]he movant . . . must do more than
merely reassert[ ] arguments which were previously made and carefully considered by
the court."' Osaoe Tribe of Indians of Okla. v. United States, 97 Fed. Cl. 34S, 349
(201 1) (quoting Bannum. Inc. v. United States, 59 Fed. CL 241, 243 (2003)) (atterations
in original) (discussing the standards applicable to both RCFC 59(a) (2013) and RCFC
60(b)). "'[T]he moving party must show: (1) the occurrence of an intervening change in
the controlling law; (2) the availability of previously unavailable evidence; or (3) the
necessity of allowing the motion to prevent manifest injustice."' ld. (quoting Matthews v.
United States, 73 Fed. Cl. 524,525 (2006)) (alteration in originat). A motion for retief
from judgment is not an opportunity to relitigate one's case or present evidence that the
movant could have brought earlier. See Fiskars. Inc. v. Hunt Mfq. Co. , 279 F .3d 1378,
1383 (Fed. Cir.2002) ("We see no reason why [movant] should be entifled to a second
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opportunity to present its case. Just as Rule 60(bX6) is unavailable to reopen a
judgment on grounds of newly discovered evidence (that existed at the time of trial), it is
 unavailable to reopen a judgment on the grounds that new evidence has come into
 being after the trial has been concluded.").

      "Under Rule 60(bXl), relief may be granted from 'judicial error' when
inadvertence is shown and the motion is made within a reasonable time." PASenJ
Sec'v of the Dep't of Health and Human Servs.. 25 F.3d at 1030. Moreover, "[u]nder
RCFC 60(b)(6), a court may vacate a party from a final judgment whenever appropriate
to accomplish justice." AmBase Corp. v. United States,l'l2Fed. Cl. 179, 183 (2013).
However, "[t]he court will typically grant relief pursuant to RCFC 60(bX6) only on a
showing of 'exceptional or extraordinary circumstances."' McCollum v. Sec'v of Health
& Human Servs., 91 Fed. Cl. at 90 (quoting Louisville Beddinq Co. v. Pillowtex Coro.,
455 F.3d 1377, 1380 (Fed. Cir. 2006)); see also Fiskars. Inc. v. Hunt Mfq. Co. ,279 F.3d
at 1382 ("Rule 60(bXO) is available only in extraordinary circumstances and only when
the basis for relief does not fall within any of the other subsections of Rule 60(b).).

       Plaintiff does not ask the court to review its prior claim against the United States
Social Security Adminishation, and appears to argue that it never made such a claim.
Nonetheless, the court briefly repeats, as explained in the earlier January 9' 2014 Order
dismissing plaintiff's complaint, that claims against the United States Social Security
Adminishation are outside of this court's jurisdiction. See Marcus v. United States, 909
F.2d 1470, 1471 (Fed. Cir. 1990). Plaintiffs new allegation against the State of
California Employment Development Department, and renewed allegation against the
State of California Department of Transportation, are not claims made against the
federal government. As also explained in the court's earlier January 9,2014 Order, this
court has no jurisdiction over claims made against state entities or private parties. See
Souders v. S.C. Pub. Serv. Auth.,497 F.3d 1303, 1308 (Fed. Cir. 2007); Woodson v.
United States, 89 Fed. Cl. 640, 649 (2009) ("When a plaintiffs complaint names private
parties, or state agencies, rather than federal agencies, this court has no jurisdiction to
hear those allegations." (quoting Shalhoub v. United States, 75 Fed. Cl. 584' 585
(2007))). To the extent plaintiff seeks redress in tort, the court further previously
explained in the January 9, 2014 Order that the Tucker Act expressly excludes tort
claims from the jurisdiction of the United States Court of Federal Claims. See 28 U.S.C.
$ 1a91(a)(1)(Supp. V2011); see also Keene Corp. v. United States,508 U.S.200'214
(1993); Rick's Mushroom Serv.. lnc. v. United States,521 F.3d 1338, '1346 (Fed. Cir.
2008); Alves v. United States, 133 F.3d 1454, 1459 (Fed. Cir. 1998). Finally, regarding
plaintiffs request for equitable relief in his letter, including his instruction to "geT
CalTRaN's To cleaN up As They Feel They wish To HiDe," such measures are outside
the jurisdiction of this court. See Nat'l Air Traffic Controllers Ass'n v. United States, 160
 F.3d714,716-17 (Fed. Cir. 1998); see also United States v. Tohono O'Odham Nation'
 131 S. Ct. 1723, 1729 (201 1) (The United States Court of Federal Claims "has no
general power to provide equitable relief against the Government or its officers ");
 Massie v. United States ,226 F.3d 1318, 1321 (Fed. Cir. 2000).
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      Mr. Stammerjohan alleges no new fac'ts or legal arguments in his recent letter to
the court that would allow this court to take jurisdic'tion to hear his claims for relief, nor
 has he shown mistake, inadvertence, surprise, excusable neglect, newly discarded
evidence, or fraud. See RCFC 60(b). Thercfore, plaintiffs motion for relief from final
judgment is DENIED.

       IT IS SO ORDERED.



                                                                   Judge




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